      Case 4:18-cv-04414 Document 13 Filed on 01/11/19 in TXSD Page 1 of 7



                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

Antwan Henry                                       §
v.                                                 §                             4:18-cv-04414
Carrington Mortgage Services, LLC, et al.          §

                 JOINT DISCOVERY/CASE MANAGEMENT PLAN
             UNDER RULE 26(f) FEDERAL RULES OF CIVIL PROCEDURE

        Antwan Henry, Ditech Financial LLC f/k/a Green Tree Servicing, LLC (Ditech),

Carrington Mortgage Services, LLC (Carrington) and The Bank of New York Mellon, f/k/a The

Bank of New York as trustee (BoNYM), file this discovery/case management plan under federal

rule of civil procedure 26(b) and pursuant to the court's order for conference and disclosure of

interested parties (doc. 4). The parties conferred on December 28, 2018.

1. State where and when the meeting of the parties required by Rule 26(f) was held, and
   identify the counsel who attended for each party.

    The conference was held telephonically on December 28, 2018. Pro Se plaintiff Antwan
    Henry attended, Timothy P. Lendino attended on behalf of Ditech and Monica Summers
    attended on behalf of Carrington and BoNYM attended.

2. List the cases related to this one that are pending in any state or federal court with the
   case number and court.

    Mr. Henry filed his state court action on October 15, 2018. Ditech removed the case on
    November 20, 2018.

 3. Specify the allegation of federal jurisdiction.

    Mr. Henry asserts violations of federal law − Fair Debt Collection Practices Act, 15 U.S.C.
    § 1692, et seq. (FDCPA) and Real Estate Settlement Procedures Act, 12 U.S.C. § 2601, et
    seq. (RESPA).

 4. Name the parties who disagree and the reasons.

     None at this time.




Joint Discovery/Case Management Plan                                                  Page 1 of 7
2018-74113; Henry v. The Bank of New York Mellon
      Case 4:18-cv-04414 Document 13 Filed on 01/11/19 in TXSD Page 2 of 7



5. List anticipated additional parties that should be included, when they can be added,
   and by whom they are wanted.

    None at this time.

 6. List anticipated interventions.

    None.

 7. Describe class-action issues.

    None.

 8. State whether each party represents that it has made the initial disclosures required
    by Rule 26(a). If not, describe the arrangements that have been made to complete the
    disclosures.

    The parties will exchange initial disclosures on or before January 11, 2019.

9. Describe the proposed agreed discovery plan, including:

    A. Responses to all the matters raised in Rule 26(f).

           26(f)(3)(A) what changes should be made in the timing, form, or requirement for
            disclosures under Rule 26(a), including a statement of when initial disclosures
            were made or will be made;

            The parties will exchange initial disclosures on or before January 11, 2019.

           26(f)(3)(B) the subjects on which discovery may be needed, when discovery
            should be completed, and whether discovery should be conducted in phases or be
            limited to or focused on particular issues;

            The parties anticipate discovery will be completed by September 13, 2019. Plaintiff
            believes discovery should be conducted in phases to enable follow-up questions on
            written interrogatories. Carrington, BoNYM and Ditech believe discovery does not
            need to be conducted in phases or limited to or focused on particular issues.

           26(f)(3)(C) any issues about disclosure, discovery, or preservation of
            electronically stored information, including the form or forms in which it should
            be produced;

            None at this time.




Joint Discovery/Case Management Plan                                                       Page 2 of 7
2018-74113; Henry v. The Bank of New York Mellon
      Case 4:18-cv-04414 Document 13 Filed on 01/11/19 in TXSD Page 3 of 7




           26(f)(3)(D) any issues about claims of privilege or of protection as trial-
            preparation materials, including—if the parties agree on a procedure to assert
            these claims after production—whether to ask the court to include their
            agreement in an order under Federal Rule of Evidence 502;

            None at this time.

           26(f)(3)(E) what changes should be made in the limitations on discovery imposed
            under these rules or by local rule, and what other limitations should be imposed;
            and

            None.

           26(f)(3)(F) any other orders that the court should issue under Rule 26(c) or under
            Rule 16(b) and (c).

            None at this time.

    B. When and to whom the plaintiff anticipates it may send interrogatories.

        Plaintiff anticipates sending interrogatories to at least one officer, employee or agent of
        each Defendant to be responded to in advance of the close of the first phase of discovery.

    C. When and to whom the defendant anticipates it may send interrogatories.

        Carrington, BoNYM and Ditech anticipate sending interrogatories to Mr. Henry to be
        responded to in advance of the discovery deadline.

    D. Of whom and by when the plaintiff anticipates taking oral depositions.

        Unknown at this time.

    E. Of whom and by when the defendant anticipates taking oral depositions.

        Carrington, BoNYM and Ditech will take Mr. Henry's deposition prior to the close of
        discovery period.

    F. When the plaintiff (or the party with the burden of proof on an issue) will be able to
       designate experts and provide the reports required by Rule 26(a)(2)(B), and when
       the opposing party will be able to designate responsive experts and provide their
       reports.

        Parties seeking affirmative relief will designate expert(s) by May 1, 2019.

        Parties will designate rebuttal expert(s) by June 14, 2019.

Joint Discovery/Case Management Plan                                                      Page 3 of 7
2018-74113; Henry v. The Bank of New York Mellon
      Case 4:18-cv-04414 Document 13 Filed on 01/11/19 in TXSD Page 4 of 7




    G. List expert depositions the plaintiff (or party with the burden of proof on an issue)
       anticipates taking and their anticipated completion date. See Rule 26(a)(2)(B)
       (expert report).

        None at this time.

    H. List expert depositions the opposing party anticipates taking and their anticipated
       completion date. See Rule26(a)(2)(B) (export report)).

        Carrington, BoNYM and Ditech propose any expert deposition should be completed prior
        to the discovery deadline.

 10. If the parties are not agreed on a part of the discovery plan, describe the separate views
     and proposals of each party.

     Plaintiff believes discovery should be conducted in phases to enable follow-up questions on
     written interrogatories. Carrington, BoNYM and Ditech believe discovery does not need to
     be conducted in phases or limited to or focused on particular issues.

 11. Specify the discovery beyond initial disclosures that has been undertaken to date.

     None at this time.

 12. State the date the planned discovery can reasonably be completed.

    The parties believe discovery can be completed by September 13, 2019.

 13. Describe the possibilities for a prompt settlement or resolution of the case that were
     discussed in your Rule 26(f) meeting.

     The parties discussed plaintiff's desire to keep the property and apply for a loan modification.
     Plaintiff is not interested in resolutions that do not involve him retaining the property.

 14. Describe what each party has done or agreed to do to bring about a prompt resolution
     of this dispute.

     Carrington and BoNYM filed a motion to dismiss on December 11, 2018 (dkt. 7). Ditech
     intends to file a motion for judgment on the pleadings shortly.

 15. From the attorneys' discussion with their client, state the alternative dispute resolution
     techniques that are reasonably suitable.

     Carrington, BoNYM and Ditech believe mediation may be productive if conducted relatively
     early in the case. Plaintiff does not believe mediation would be productive.



Joint Discovery/Case Management Plan                                                       Page 4 of 7
2018-74113; Henry v. The Bank of New York Mellon
      Case 4:18-cv-04414 Document 13 Filed on 01/11/19 in TXSD Page 5 of 7



 16. Magistrate judges may now hear jury and non-jury trials. Indicate the parties' joint
     position on a trial before a magistrate judge.

     The parties do not currently consent to a magistrate judge.

17. State whether a jury demand has been made and if it was made on time.

     A jury demand has not been made.

 18. Specify the number of hours it will take to present the evidence in this case.

    The parties anticipate 2-3 days to present evidence in this case.

 19. List pending motions that could be ruled on at the initial pretrial and scheduling
     conference.

     Carrington and BoNYM filed a dismissal motion on December 11, 2018 (dkt. 7). Ditech
     intends to file a motion for judgment on the pleadings shortly.

 20. List other motions pending.

    None at this time. Plaintiff anticipates filing a Motion for Leave to File ECF.

 21. Indicate other matters peculiar to this case, including discovery, that deserve the
     special attention of the court at the conference.

    None.

 22. List the names, bar numbers, addresses, and telephone numbers of all counsel.

     Antwan Henry
     11939 Canyon Valley Drive
     Tomball, Texas 77377
     Telephone: 281.995.7735
     onpaone@gmail.com

     PRO SE PLAINTIFF




Joint Discovery/Case Management Plan                                                  Page 5 of 7
2018-74113; Henry v. The Bank of New York Mellon
      Case 4:18-cv-04414 Document 13 Filed on 01/11/19 in TXSD Page 6 of 7



     S. David Smith – Attorney in charge
     SBN 18682550; So. Dist. Bar No. 14233
     Melissa S. Gutierrez – Of Counsel
     SBN 24087648; So. Dist. Bar No. 2255351
     BRADLEY ARANT BOULT CUMMINGS LLP
     600 Travis Street, Suite 4800
     Houston, Texas 77002
     Telephone: 713.576.0300
     Facsimile: 713.576.0301
     sdsmith@bradley.com
     mguiterrez@bradley.com

     ATTORNEYS FOR DITECH FINANCIAL LLC


     C. Charles Townsend – Of Counsel
     SBN 24028053; So. Dist. Bar No. 1018722
     Walter McInnis – Attorney in charge
     SBN 24046394; So. Dist. Bar No. 588724
     AKERMAN LLP
     2001 Ross Avenue, Suite 3600
     Dallas, Texas 75201
     Telephone: 214.720.4300
     Facsimile: 214.981.9339
     charles.townsend@akerman.com
     walter.mcinnis@akerman.com

     Monica Summers
     SBN 24083594, So. Dist. Bar No. 1760115
     AKERMAN LLP
     112 E. Pecan Street, Suite 2750
     San Antonio, Texas 78205
     Telephone: 210.582.0220
     Facsimile: 210.582.0231
     monica.summers@akerman.com

     ATTORNEYS FOR CARRINGTON
     MORTGAGE SERVICES, LLC &
     THE BANK OF NEW YORK MELLON,
     AS TRUSTEE




Joint Discovery/Case Management Plan                                   Page 6 of 7
2018-74113; Henry v. The Bank of New York Mellon
      Case 4:18-cv-04414 Document 13 Filed on 01/11/19 in TXSD Page 7 of 7



     Pro Se Plaintiff

        /s/ Antwan Henry                             Date: January 11, 2019

     Counsel for Ditech Financial LLC

        /s/ Timothy P. Lendino                       Date: January 11, 2019

     Counsel for Carrington Mortgage Services, LLC
     and The Bank of New York Mellon, as Trustee

        /s/ Monica Summers                           Date: January 11, 2019




Joint Discovery/Case Management Plan                                          Page 7 of 7
2018-74113; Henry v. The Bank of New York Mellon
